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                        IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF OHIO – Cincinnati Division
HUNTER DOSTER, et. al.                         :       Case No.: 1:22-cv-00084

        Plaintiff                              :

v.                                             :

Hon. FRANK KENDALL, et. al.                    :

        Defendants                             :

              MOTION FOR ADMISSION PRO HAC VICE OF AARON SIRI
        Pursuant to S.D. Ohio Civ. R. 83.3(e) and 83.4(a), Christopher Wiest, trial attorney

for Hunter Doster, et. al., in the above-referenced action, hereby moves the court to admit Aaron

Siri, pro hac vice to appear and participate as counsel or co-counsel in this case for Plaintiffs.

        Movant represents that he is a member in good standing of a highest state court as

attested by the accompanying certificate from that court and that he is not eligible to become a

member of the permanent bar of this Court. This Motion is accompanied by the required filing

fees.

The relevant identifying information is as follows:

Siri & Glimstad LLP
Phone: (212)532-1091
Fax: (646)417-5967
200 Park Avenue, 17th Floor
New York , NY 10166
aaron@sirillp.com

                                                       Respectfully submitted,

                                                       /s/ Christopher Wiest___________
                                                       Christopher Wiest (OH 0077931)
                                                       Chris Wiest, Atty at Law, PLLC
                                                       25 Town Center Blvd, Suite 104
                                                       Crestview Hills, KY 41017
                                                       513/257-1895 (c)
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                                                     859/495-0803 (f)
                                                     chris@cwiestlaw.com
                                                     Attorneys for Plaintiff

                                 CERTIFICATE OF SERVICE

       I certify that I have served a copy of the foregoing by electronic mail, this 16 day of
February, 2022.

                                                             /s/ Christopher Wiest___________
                                                             Christopher Wiest (OH 0077931)
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            CERTIFICATE OF THE CLERK OF THE SUPREME COURT
                                OFTHE
                           STATE OF ARIZONA




I, Tracie K. Lindeman, Clerk of the Supreme Court of the State of Arizona, hereby certify

that, according to the records of my office and upon the recommendation of the

Disciplinary Clerk of the Supreme Court ofArizona

                                      AARONS/RI

was on the 23 rd day ofMarch, 2020 duly admitted to practice as an Attorney and

Counselor at Law in all the courts ofArizona; that no disciplinary proceedings are

p en.ding against this attorney in the Arizona Supreme Court as of the date of this

certificate; and that this name now appears on the Roll ofAttorneys in this office as an

active member of the State Bar ofArizona in good standing.

                                                      Given under my hand and the seal of
                                                      said Court this 201" day of January,
                                                      2022.

                                                      TRACIE K. LINDEMAN, Clerk


                                                     By       vf7
                                                          Liz Gomez
                                                          Deputy Clerk Ill
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               CERTIFICATE OF GOOD STANDING
             ISSUED BY THE DISCIPLINARY CLERK
                   FOR AND ON BEHALF OF
               THE SUPREME COURT OF ARIZONA




          The Disciplinary Clerk pursuant to Rule 74, Rules of the Supreme
   Court of Arizona, hereby certifies that according to the records of the State
   Bar, AARON SIRI was duly admitted to practice as an attorney and counselor
   at law in all courts of Arizona by the Supreme Court of Arizona on March 23 ,
   2020 and is now, as of the date of this Certificate, an active member of the
   State Bar of Arizona in good standing.



                                     Given under the seal of the Disciplinary
                                     Clerk of the Supreme Court of Arizona this
                                     January ti_, 2022.             ~
                                                                   '.#




                                     Disciplinary Clerk
